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                      Exhibit “A”
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USTED ESTAESTA ORDENADO
                 ORDENADO COMPARECER
                                   COMPARECER EN     EN Arbitration
                                                          Arbitration ______________________________________________________________
                                                                          Hearing
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 You must still comply with the notice below. USTED TODAVIA DEBE CUJPLIR CON EL AVISO PARA DEFENDERSE.
      must    still comply    with   the  notice   below.    USTED    TODAVIA     DEBE    CUJPLIR   CON   EL  AVISO    PARA    DEFENDERSE.
 This matter
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                will be
                      be heard
                          heard by by aa Board
                                         Board ofof Arbitrators
                                                    Arbitrators at at the
                                                                       the time,
                                                                            time, date
                                                                                   date and
                                                                                         and place
                                                                                              place specified
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at  the hearing,    the  matter     may  be  heard   at  the  same    time   and  date  before   a judge  of  the  court
at the hearing, the matter may be heard at the same time and date before a judge of the court without the aksaif party-or  without  the absent  party  or parties.
                                                                                                                                                          parties.
 There is
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                By: William J. Faust, II, Esquire                                                                                          NG
                                                                                                                                           S. RICE
               Identification No. 36990
               1301 S. Broad Street, Suite 205
               Philadelphia, PA 19147
               215-334-4313                                                                               Attorney For Plaintiff
               LAUREN HOLLEY                                                        :     IN THE COURT OF COMMON PLEAS
               5050 Aspen Street                                                    :     OF PHILADELPHIA COUNTY,
               Philadelphia, PA 19139                                               :     PENNSYLVANIA
                                             Plaintiff                              :
                       VS.                                                          :     CIVIL ACTION - LAW
                                                                                    :     ARBITRATION
              DSW, DESIGNER SHOE WAREHOUSE,
              DSW, INC.                                                             :
              80 E. Wynnewood Road                                                  :                          TERM, 2022
              Wynnewood, PA 19096                                                   :
                                             and
              WYNNEWOOD SHOPPING CENTER
              50 East Wynnewood Road
              Wynnewood, PA 19096
                                             and                                    :
              FEDERAL REALTY INVESTMENT TRUST                                       :
              c/o 909 Rose Avenue, Suite 200                                        :
              North Bethesda, MD 20852
                                             and                                    :
              FEDERAL REALTY INVESTMENT TRUST                                       :
              c/o CORPORATION SERVICE COMPANY                                       :
              2595 Interstate Drive, Suite 103
              Harrisburg, PA 17110
                                            Defendants

                                                                             NOTICE

                         You have been sued in court.                  If you wish to defend against the claims set forth in the
              following pages, you must take action within twenty (20) days after this complaint and notice are
              served, by entering a written appearance personally or by attorney and filing in writing with the
              court your defenses or objections to the claims set forth against you. You are warned that if you
              fail to do so the case may proceed without you and a judgment may be entered against you by the
              court without further notice for any money claimed in the complaint or for any other claim or relief
              requested by the plaintiff. You may lose money or property or other rights important to you.
              YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT
              HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW. THIS
              OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A LAWYER.




                                                                                                                                               Case
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IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE TO
PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL
SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.

                                  Philadelphia Bar Association
                            Lawyer Referral and Information Service
                                       One Reading Center
                               Philadelphia, Pennsylvania 19107
                                    Telephone (215) 238-1701




                                             AVISO

        Le han demandado a usted en la corte. Si usted quiere defenderse de estas demandas
expuestas en las paginas siguientes, usted tiene viente dias de plazo al partir de la fecha de la
demanda y la notificacion. Hace falta ascentar una comparencia escrita o en persona o con un
abogado y entregar a la corte en forma escrita sus defensas o sus objeciones a las demandas en
contra de su persona.   Sea advisado que si usted no se defiende, la corte tomara medidas y puede
continuar la demanda en contra suya sin previo aviso o notificacion. Ademas, la corte puede
decidir a favor del demandante y requiere que usted cumpla con todas las provisiones de esta
demanda. Usted puede perder dinero o sus propiedades u otros derechos importantes para usted.

LLEVE ESTA DEMANDA A UN ABOGADO IMMEDIATAMENTE,           SI NO TIENE
ABOGADO O SINO TIENE EL DINERO SUFICIENTE DE PAGAR TAL SERVICIO, VAYA
EN PERSONA O LLAME POR TELEFONO A LA OFICINA CUYA DIRECCION SE
ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR DONDE SE PUEDE CONSEGUIR
ASISTENCIA LEGAL.

                            Asociacion De Licenciados De Filadelfia
                          Servicio De Referencia E Informacion Legal
                                         One Reading Center
                                  Filadelfia, Pennsylvania 19107
                                      Telefono: (215) 238-1701




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LAW OFFICE OF WILLIAM J. FAUST, II
By: William J. Faust, II, Esquire
Identification No. 36990
1301 S. Broad Street, Suite 205
Philadelphia, PA 19147
215-334-4313                                                                  Attorney For Plaintiff
LAUREN HOLLEY                                                 IN THE COURT OF COMMON PLEAS
5050 Aspen Street                                             OF PHILADELPHIA COUNTY,
Philadelphia, PA 19139                                        PENNSYLVANIA
                              Plaintiff
        Vs.                                                   CIVIL ACTION - LAW
                                                              ARBITRATION
DSW, DESIGNER SHOE WAREHOUSE,
DSW, INC.
80 E. Wynnewood Road                                                          TERM, 2022
Wynnewood, PA 19096
                                 and
WYNNEWOOD            SHOPPING CENTER
50 East Wynnewood Road
Wynnewood, PA 19096
                               and
FEDERAL REALTY INVESTMENT TRUST                          :
c/o 909 Rose Avenue, Suite 200
North Bethesda, MD 20852
                               and
FEDERAL REALTY INVESTMENT TRUST                          :
c/o CORPORATION SERVICE COMPANY
2595 Interstate Drive, Suite 103
Harrisburg, PA 17110
                                 Defendants

                 COMPLAINT IN CIVIL ACTION - PREMISES LIABILITY

         Plaintiff, Lauren Holley, by and through the undersigned counsel, attorney William J.

Faust,   II, Esquire,   hereby   demands      judgement       against   Defendants,   DSW,   Designer   Shoe

Warehouse,    DSW,      Inc., Wynnewood       Shopping       Center, Federal Realty Investment Trust and

Federal Realty Investment Trust c/o Corporation Service Company in an amount not in excess of

Fifty Thousand Dollars ($50,000.00), upon a cause of action whereof the following are true

statements:




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        1. Plaintiff Lauren Holley is an adult individual presently and at all relevant times residing

at the above-captioned address.

        2.    Defendant,     DSW,   Designer     Shoe      Warehouse,     DSW,   Inc.,     is an   Ohio   business

corporation, regularly conducting substantial business in Philadelphia County, Pennsylvania, and

maintaining a corporate headquarters, registered office and/or principal place of business at the

address above-captioned.

        3.    Defendant, Wynnewood          Shopping Center, is a Pennsylvania business corporation,

regularly conducting substantial business in Philadelphia County, Pennsylvania, and maintaining

a corporate headquarters, registered office and/or principal place of business at the address above-

captioned.

        4. Defendant Federal Realty Investment Trust c/o 909 Rose Avenue, North Bethesda, MD

is a Maryland       domestic    business    corporation,     regularly   conducting      substantial   business     in

Philadelphia County, Pennsylvania, and maintaining a corporate headquarters, registered office

and/or principal place of business at the address above-captioned.

        5. Defendant Federal Realty Investment Trust c/o Corporation Service Company                              is a

Pennsylvania      domestic     business    corporation,     regularly    conducting      substantial   business     in

Philadelphia County, Pennsylvania, and maintaining a corporate headquarters, registered office

and/or principal place of business at the address above-captioned.

        6. On or about May 26, 2021, Plaintiff was a business invitee inside the DSW Designer

Shoe Warehouse commonly known as the DSW located at 80 E. Wynnewood Road, Wynnewood,

PA 19096.      While walking in the aisle inside the store, she was caused to slip, trip and fall into the

endcap shelf which was an unreasonably dangerous condition of said premises.




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        7.    As a direct and proximate result of the aforesaid incident, Plaintiff sustained a right

hand and right shoulder injury (i.e., right shoulder rotator cuff tear), by reason of which she has

experienced     and will continue to experience pain and suffering, loss of enjoyment of life’s

pleasures, embarrassment and humiliation, and disfigurement.

        8.    As a further direct and proximate result of the aforesaid incident, Plaintiff has been

obliged to incur expenses for medicines, medical attention and healthcare in trying to treat and

cure said injuries, and will be compelled to expend and/or incur additional sums for the same

purposes in the future.

        9.    As a further direct and proximate result of the aforesaid incident, Plaintiff has been

and/or may in the future be prevented from attending to her usual and daily occupation and/or daily

duties, thereby suffering a loss of earnings and/or impairment of earning capacity.

        10. As a further direct and proximate result of the aforesaid incident, Plaintiff has suffered

or may suffer a severe loss of expenses which have been or may be reasonably incurred in

obtaining ordinary and necessary services in lieu of those which Plaintiff would have performed,

not for income, but for the benefit of herself if she had not been injured.

        WHEREFORE, Plaintiff, Lauren Holley, demands compensatory damages be awarded in

her favor and against Defendants, DSW,        Designer Shoe Warehouse, DSW,        Inc., Wynnewood

Shopping      Center, Federal Realty Investment Trust and Federal Realty Investment Trust c/o

Corporation Service Company, individually, jointly and/or severally, in an amount not in excess

of Fifty Thousand Dollars ($50,000.00), together with interest, costs of suit and such other relief

as this court deems just.




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                                               COUNT 1

              LAUREN HOLLEY vs. DSW, DESIGNER WAREHOUSE, DSW, INC.

        11. Plaintiff incorporates by reference the allegations in the preceding paragraphs as fully

as though each were set forth at length herein.

        12. At all times material hereto, Defendant's acts and/or omissions were accomplished by

Defendant’s agents, workers, representatives and/or employees who were then and there acting

and/or failing to act within the scope and course of their agency and/or employment.

        13.    At all times material hereto, Defendant      owned,   possessed, controlled, managed,

supervised, repaired, inspected and/or maintained the aforesaid premises, including but not limited

to the area where the subject incident occurred.

        14. The aforesaid incident was directly and proximately caused by Defendant's negligence

as follows:

                 (a) Allowing the aforesaid endcap shelf to exist and remain inside the premises

                 for a long period of time;

                 (b) Failing to provide a reasonably safe walkway for individuals such as Plaintiff;

                 (c) Failing to keep the premises in a reasonably safe condition;

                 (d) Failing to properly control the premises;

                 (e) Failing to properly manage the premises;

                 (f) Failing to properly supervise the premises;

                 (g) Failing to properly repair the premises;

                 (h) Failing to properly inspect the premises;

                 (i) Failing to properly maintain the premises;




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                   (j) Failing to take precautionary    measures   to minimize    the risk of harm       to

        individuals such as Plaintiff;

                   (k) Failing to correct an unreasonably dangerous condition of which Defendant

        knew and/or should have known;

                   (1) Failing to place or provide appropriate signs, warnings and/or barricades;

                   (m) Failing to give Plaintiff the proper and adequate protection to which she was

        entitled; and

                   (n) Failing to offer or provide individuals such as Plaintiff a reasonably          safe

        alternative path.

        15.   As     a direct and proximate    result of Defendant's    aforesaid negligence,     Plaintiff

sustained the injuries and incurred the damages set forth above.

        WHEREFORE, Plaintiff, Lauren Holley, demands compensatory damages be awarded in

her favor and against Defendant, DSW,          Designer Shoe Warehouse,       DSW,      Inc., individually,

jointly and/or severally, in an amount not in excess of Fifty Thousand Dollars ($50,000.00),

together with interest, costs of suit and such other relief as this court deems just.


                                               COUNT II

               LAUREN HOLLEY vs. WYNNEWOOD                      SHOPPING CENTER

        16. Plaintiff incorporates by reference the allegations in the preceding paragraphs as fully

as though each were set forth at length herein.

        17. At all times material hereto, Defendant's acts and/or omissions were accomplished by

Defendant’s agents, workers, representatives and/or employees who were then and there acting

and/or failing to act within the scope and course of their agency and/or employment.




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        18.   At all times material hereto, Defendant      owned, possessed,    controlled, managed,

supervised, repaired and/or maintained the aforesaid premises, including but not limited to the area

where the subject incident occurred.

        19. The aforesaid incident was directly and proximately caused by Defendant's negligence

as follows:

                (a) Allowing the aforesaid endcap shelf to exist and remain inside the premises

                for a long period of time;

                (b) Failing to provide a reasonably safe walkway for individuals such as Plaintiff;

                (c) Failing to keep the premises in a reasonably safe condition;

                (d) Failing to properly control the premises;

                (e) Failing to properly manage the premises;

                (f) Failing to properly supervise the premises;

                (g) Failing to properly repair the premises;

                (h) Failing to properly inspect the premises;

                (1) Failing to properly maintain the premises;

                (j) Failing to take precautionary     measures    to minimize   the risk of harm   to

        individuals such as Plaintiff;

                (k) Failing to correct an unreasonably dangerous condition of which Defendant

        knew and/or should have known;

                (1) Failing to place or provide appropriate signs, warnings and/or barricades;




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                    (m) Failing to give Plaintiff the proper and adequate protection to which she was

        entitled; and

                    (n) Failing to offer or provide individuals such as Plaintiff a reasonably          safe

        alternative path.

        20.    As     a direct and proximate   result of Defendant's      aforesaid negligence,    Plaintiff

sustained the injuries and incurred the damages set forth above.

        WHEREFORE, Plaintiff, Lauren Holley, demands compensatory damages be awarded in

her favor and against Defendant,        Wynnewood      Shopping   Center, individually, jointly and/or

severally, in an amount not in excess of Fifty Thousand Dollars ($50,000.00), together with

interest, costs of suit and such other relief as this court deems just.




                                               COUNT 111

              LAUREN HOLLEY vs. FEDERAL REALTY INVESTMENT TRUST
                               c/0 909 ROSE AVENUE

        21. Plaintiff incorporates by reference the allegations in the preceding paragraphs as fully

as though each were set forth at length herein.

        22. At all times material hereto, Defendant's acts and/or omissions were accomplished by

Defendant and/or Defendant’s agents, workers, representatives and/or employees who were then

and there acting       and/or failing to act within the scope     and course     of their agency     and/or

employment.

        23.    At all times material hereto, Defendant      owned, possessed,       controlled, managed,

supervised, repaired, inspected and/or maintained the aforesaid premises, including but not limited

to the area where the subject incident occurred.




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        24. The aforesaid incident was directly and proximately caused by Defendant's negligence

as follows:

                (a)     Allowing   the   aforesaid   endcap   shelf   to   exist   and    remain   inside   the

                premises for a long period of time;

                (b) Failing to provide a reasonably safe walkway for individuals such as Plaintiff;

                (c) Failing to keep the premises in a reasonably safe condition;

                (d) Failing to properly control the premises;

                (e) Failing to properly manage the premises;

                (f) Failing to properly supervise the premises;

                (g) Failing to properly repair the premises;

                (h) Failing to properly inspect the premises;

                (1) Failing to properly maintain the premises;

                (j) Failing to take precautionary        measures     to minimize        the risk of harm    to

        individuals such as Plaintiff;

                (k) Failing to correct an unreasonably dangerous condition of which Defendant

        knew and/or should have known;

                (1) Failing to place or provide appropriate signs, warnings and/or barricades;

                (m) Failing to give Plaintiff the proper and adequate protection to which she was

        entitled; and




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                    (n) Failing to offer or provide individuals such as Plaintiff a reasonably safe

        alternative path.

        25.     As a direct and proximate         result of Defendant's       aforesaid negligence,       Plaintiff

sustained the injuries and incurred the damages set forth above.

        WHEREFORE, Plaintiff, Lauren Holley, demands compensatory damages be awarded in

her favor     and    against   Defendant,   Federal   Realty   Investment     Trust   c/o    909   Rose   Avenue,

individually, jointly and/or severally, in an amount not in excess of Fifty Thousand Dollars

($50,000.00), together with interest, costs of suit and such other relief as this court deems just.




                                                 COUNTIV
              LAUREN HOLLEY vs. FEDERAL REALTY INVESTMENT                                     TRUST
                       c/o CORPORATION SERVICE COMPANY

        26. Plaintiff incorporates by reference the allegations in the preceding paragraphs as fully

as though each were set forth at length herein.

        27. At all times material hereto, Defendant's acts and/or omissions were accomplished by

Defendant and/or Defendant’s agents, workers, representatives and/or employees who were then

and there acting and/or         failing to act within the scope      and course       of their agency       and/or

employment.

        28.    At all times material hereto, Defendant          owned,      possessed,      controlled, managed,

supervised, repaired, inspected and/or maintained the aforesaid premises, including but not limited

to the area where the subject incident occurred.

        29. The aforesaid incident was directly and proximately caused by Defendant's negligence

as follows:




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                  (a) Allowing the aforesaid endcap shelf to exist and remain inside the premises

                  for a long period of time;

                  (b) Failing to provide a reasonably safe walkway for individuals such as Plaintiff;

                  (c) Failing to keep the premises in a reasonably safe condition,

                  (d) Failing to properly control the premises;

                  (e) Failing to properly manage the premises;

                  (f) Failing to properly supervise the premises;

                  (g) Failing to properly repair the premises;

                  (h) Failing to properly inspect the premises;

                  (i) Failing to properly maintain the premises;

                  (j) Failing to take precautionary     measures    to minimize   the risk of harm     to

       individuals such as Plaintiff;

                  (k) Failing to correct an unreasonably dangerous condition of which Defendant

       knew and/or should have known;

                  (1) Failing to place or provide appropriate signs, warnings and/or barricades;

                  (m) Failing to give Plaintiff the proper and adequate protection to which she was

       entitled; and

                  (n) Failing to offer or provide individuals such as Plaintiff a reasonably         safe

       alternative path.

       30.   As     a direct and proximate     result of Defendant's    aforesaid negligence,   Plaintiff

sustained the injuries and incurred the damages set forth above.




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        WHEREFORE, Plaintiff, Lauren Holley, demands compensatory damages be awarded in

her favor and against Defendant,      Federal Realty   Investment   Trust c/o Corporation     Service

Company, individually, jointly and/or severally, in an amount not in excess of Fifty Thousand

Dollars ($50,000.00), together with interest, costs of suit and such other relief as this court deems

just.



                                       Respectfully Submitted,

                                       LAW OFFICES OF WILLIAM J. FAUST, IL, P.C.




                               ov.      Willian 9: Jou I
                                       WILLIAM J. FAUST, I}         BAQUIKE
                                       Attorney for Plaintiff, atren Holley




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                                         VERIFICATION


        The Undersigned, having read the attached pleading, verifies that the within pleading is

based on information furnished to counsel which information has been gathered by counsel in the

course of this lawsuit. The language of the pleading is that of counsel and not of signer. Signer

verifies that he read the within pleading and that it is true and correct to the best of signer’s

knowledge, information and belief. To the extent the contents of the pleading are that of counsel,

verifier has relied upon counsel in taking this Verification. This Verification is made subject to the

penalties of 18 Pa. C.S. §4904 relating to unsworn falsification to authorities.




                                                           Arner          4              \
                                                         ayren Holley
                                                         aintiff

Date:   A-   [7- A 2.




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